  Case 1:21-cv-01803-JLR Document 68 Filed 04/04/23 Page 1 of 1




April 4, 2023

via EM/CF

Honorable Jennifer L. Rochon
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street, Courtroom 20B
New York, NY 10007

      Re:       Response to Plaintiff’s Pre-Motion Letter in Coker v.
                Goldberg & Associates P.C., SDNY Case No. 21-cv-01803

Dear Judge Rochon:

On behalf of the Defendants, we are writing this letter in response to
Plaintiff’s Pre-Motion letter regarding Plaintiff’s anticipated Motion for
Summary Judgment, dated March 30, 2023.

Defendants plan to oppose Plaintiff’s motion for summary judgment.
Defendants’ position regarding Plaintiff’s role as an “executive
assistant/personal assistant” is that it was indeed subject to the
“administrative exemption” from overtime.

Defendants intend to establish that Plaintiff was given a sufficient
amount of leeway and trust in performing her tasks, but Plaintiff repaid
this trust and managerial leeway by shirking her duties and frolicking
on company time, and lying on her timesheets. Defendants intend to
establish that that there is an issue of fact as to the number of hours
Plaintiff actually worked for Defendants.

Defendants intend to establish the above through the completion of
discovery. We thank the court for its time.

                                               Respectfully,



                                               T. Bryce Jones, Esq.
                                               Jones Law Firm, P.C.
                                               1270 6th Avenue, 7th Floor
                                               New York, NY 10020
                                               (212) 258-0685
                                               bryce@joneslawnyc.com
                                               Attorneys for Defendants
